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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION

NYOKA CURTIS, AS NEXT FRIEND
OF TREAVOR RAY CURTIS, a
MINOR AND NANCY CURTIS, IN
HER CAPACITY AS PERSONAL
REPRESENTATIVE OF THE
ESTATE OF STEPHEN RAY
CURTIS AND HIS

BENEFICIARIES AND ON

BEHALF OF TREAVOR RAY
CURTIS, A MINOR

Plaintiff,

BP EXPLORATION &
PRODUCTION INC., BP, PLC, BP
AMERICA, INC., BP PRODUCTS
NORTH AMERICA, INC., AND
HALLIBURTON ENERGY
SERVICES, INC.

Defendants.

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§ Civil Action No. 4:11-cv-2231
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AFFIDAVIT OF WYMAN W. WHEELER

THE STATE OF LOUISIANA = §

§
PARISH OF CONCORDIA §

BEFORE ME, the undersigned authority, on this day did personally appear Wyman
W. Wheeler, known to me to be the person executing this affidavit, and after being duly
sworn upon his oath did depose and state as follows:

“1. My name is Wyman W. Wheeler. I am over 18 years of age and fully

competent to make this affidavit. These statements made in this affidavit
are based upon my personal knowledge and are true and correct.

EXHIBIT

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2. Iwas amember of the crew assigned to the Deepwater Horizon and was
aboard that vessel on April 20, 2010. I was a member of the drilling
crew. My job title was toolpusher.

3. During my time on the Deepwater Horizon, especially during the days
and hours immediately preceding the explosion and fire that occurred on
April 20, 2010, BP employees actually exercised control over the
operation while I worked on and around the drill floor. I regularly
carried out orders that were issued by BP.

4. BP exercised its control over the drilling operations through its company
men. BP’s company men were on the drill floor every day to watch
operations and told the toolpushers and drillers exactly what they wanted
done. In this connection, the company men would make frequent visits
to the rig floor.

5. Consistent with BP’s control over the work on the drill floor and the
drilling operation, BP controlled the decisions, among other things, on
the following:

a. how much casing to run,

b. how much cement to pump and the amount of mud to displace
it with,

c. how many centralizers to use (fewer than originally planned),

d. where to displace drilling mud with seawater in order to perform

negative tests,

use of nitrogen cement job, and

f. not to run cement bond log.

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6. The work I was performing on the Deepwater Horizon was BP’s work.
We were drilling a well that was leased by BP so BP could generate
revenue. My work was in furtherance of the accomplishment of BP’s
goal to develop the Macondo 252 well.

7. I acquiesced in the fact that BP exercised working control over me.
I never complained about this fact, asked for a job transfer, quit, or took
any other action to get out from under BP’s control.

8. BP provided the place for performance of my job. I worked aboard the
Deepwater Horizon, a vessel that BP chartered, and at the Macondo 252
well that BP leased.
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9. Stephen Curtis was a member of the crew assigned to the Deepwater
Horizon and was aboard the vessel on April 20, 2010. He was a member
of the drilling crew. His job title was assistant driller. Stephen Curtis
worked under the same conditions vis-a-vis BP as I did and as I have
described in the preceding paragraphs of this affidavit.

Further, Affiant sayeth not.

Wyman W. Wheeler

SUBSCRIBED and SWORN TO before me, the undersigned authority, on this

day of July, 2011, to certify which witness my hand and official seal.

Notary Public in and for the State of Louisiana

Printed/Typed Name of Notary Public

My Commission Expires:

